                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               STATESVILLE DIVISION
                                   5:10CV159-1-V
                                     5:08CR48-V



ROSE MARY BROOKS,                   )
                                    )
            Petitioner,             )
                                    )
            v.                      )                          ORDER
                                    )
UNITED STATES OF AMERICA,           )
                                    )
            Respondent.             )
____________________________________)


       THIS MATTER comes before the Court for an initial review of Petitioner’s Motion to

Vacate, Set Aside, or Correct Sentence (Doc. No. 1), filed October 22, 2010.

       In her Motion to Vacate, Petitioner claims, among other things, that after sentencing she

specifically asked her counsel to file a direct appeal. (Doc. No. 1.) Petitioner further states that

her counsel informed her that her chances of prevailing were slim and he ultimately failed to file

the appeal. (Doc. No. 1.)

       An attorney’s failure to file a notice of appeal, when requested by his client to do so, is

per se ineffective assistance of counsel. Prejudice to the defendant is presumed irrespective of

the merits of the appeal or a waiver of appellate rights. Evitts v. Lucey, 469 U.S. 387, 391-405

(1985); United States v. Poindexter, 492 F.3d 263, 273 (4th Cir. 2007); United States v. Peak, 992

F.2d 39 (4th Cir. 1993). Accordingly, on a showing that counsel was requested to appeal but

failed to do so, the prescribed remedy is to vacate the original judgment and enter a new

judgment from which an appeal can be taken. Peak, 992 F.2d at 42.




    Case 5:08-cr-00048-KDB-DSC             Document 150         Filed 10/26/10       Page 1 of 3
        Regardless of how Respondent responds to Petitioner’s allegation, at a minimum a

factual dispute will exist over whether or not Petitioner requested her counsel to file a direct

appeal. Consequently, in accordance with this Court’s practices, the Court will vacate the

original judgment and direct the Clerk to enter a new identical judgment from which an appeal

can be taken.

       THEREFORE, IT IS HEREBY ORDERED that:

       1. Petitioner’s Motion to Vacate is GRANTED in part;

       2. All of Petitioner’s claims except for her ineffective assistance of counsel claim based
          upon her attorney’s failure to file an appeal are DISMISSED WITHOUT
          PREJUDICE;

       3. Petitioner’s criminal judgment is vacated due to her attorney’s failure to file a direct
          appeal;

       4. The Clerk is directed to prepare a new criminal judgment with the same sentence and
          conditions; and

       5. The Clerk is directed to file a notice of appeal on Petitioner’s behalf.



                                                  Signed: October 26, 2010




                                                  2



    Case 5:08-cr-00048-KDB-DSC             Document 150         Filed 10/26/10       Page 2 of 3
                                 3



Case 5:08-cr-00048-KDB-DSC   Document 150   Filed 10/26/10   Page 3 of 3
